Case 19-13121-KHK         Doc 39    Filed 10/24/19 Entered 10/24/19 21:42:18              Desc Main
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                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division
In re:
         Bluepoint Medical Associates, LLC                    Case No. 19-13121-KHK
                                                              Chapter 11
                             Debtor



                             MOTION TO EXPEDITE HEARING

         Wisteria 12810, LLC, by counsel, has filed a Motion for Relief from the Automatic Stay.

For the reasons stated in the Motion, and due to the fact that the Movant is not adequately protected,

that the damages to the Movant are ongoing and that there is an urgent health issue, the Movant

respectfully requests an expedited hearing to be held on November 12, 2019 at 11:00 a.m. in Judge

Kindred’s Courtroom, U.S. Bankruptcy Court, Courtroom III, 200 South Washington Street,

Alexandria, VA.

                                                      WISTERIA 12810, LLC
                                                      By Counsel

Dated: October 24, 2019

NEW DAY LEGAL, PLLC

By: /s/ John C. Morgan
John C. Morgan, Esquire, VSB # 30148
Scott W. Carpenter, Esquire, VSB # 89057
Suad Bektic, Esquire, VSB # 90012
98 Alexandria Pike, Suite 10
Warrenton, Virginia 20186
Phone: (540) 349-3232
Facsimile: (888) 612-0943
Counsel for Wisteria 12810, LLC
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 24th day of October 2019, I have provided a copy of the
foregoing Motion to Expedite Hearing via the CM/ECF system or by first-class, postage paid mail,
to the following:

Office of the United States Trustee
1725 Duke Street, Suite 650
Alexandria, VA 22314

John T. Donelan, Esquire
125 South Royal Street
Alexandria, VA 22314
Counsel for the Debtor
                                                      /s/ John C. Morgan
                                                              John C. Morgan




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                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division
In re:
         Bluepoint Medical Associates, LLC                    Case No. 19-13121-KHK
                                                              Chapter 11
                             Debtor



                       CERTIFICATION FOR EXPEDITED HEARING

         Wisteria 12810, LLC, by its undersigned counsel, has filed a Motion for Relief from the
Automatic Stay. In support thereof, as required by Local Rule 9013-1(N), John C. Morgan, as
counsel for the Movant, hereby certifies the following:
         1. I am a member of the Bar of this Court;
         2. I have carefully examined the matter and have concluded that there is a true necessity
            for an emergency hearing;
         3. The necessity for this emergency has not been caused by any lack of due diligence; and
         4. Based upon the nature of this matter and the relief requested in the Motion to Expedite
            Hearing, no bona fide effort to resolve the matter without a hearing is possible.
                                                      By: /s/ John C. Morgan
                                                      John C. Morgan, Esq. VSB # 30148
                                                      Scott W. Carpenter, Esq. VSB # 89057
                                                      Suad Bektic, Esq. VSB # 90012
                                                      New Day Legal, PLLC
                                                      98 Alexandria Pike, Suite 10
                                                      Warrenton, Virginia 20186
                                                      Phone: (540) 349-3232
                                                      Facsimile: (888) 612-0943
                                                      Counsel for Wisteria 12810, LLC




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                                CERTIFICATE OF SERVICE

Pursuant to Local Bankruptcy Rule 9013-1, I hereby certify that on October 24, 2019, I have
transmitted a true copy of the foregoing Motion to Expedite Hearing and Certification for
Expedited Hearing electronically through the Court’s CM/ECF system or by first-class, postage
paid mail, to the following:

Office of the United States Trustee
1725 Duke Street, Suite 650
Alexandria, VA 22314

John T. Donelan, Esquire
125 South Royal Street
Alexandria, VA 22314
Counsel for the Debtor
                                                      /s/ John C. Morgan
                                                              John C. Morgan




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